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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 21-cr-003 (RCL)
               v.                            :
                                             :
JACOB CHANSLEY,                              :
                                             :
                      Defendant.             :


       OPPOSITION TO DEFENDANT’S MOTION TO DISMISS COUNT TWO:
               OBSTRUCTION OF AN OFFICIAL PROCEEDING

       The United States of America, by and through the Acting United States Attorney for the

District of Columbia, hereby respectfully submits this opposition to Jacob Chansley’s (“the

defendant”) Motion to Dismiss Count Two: Obstruction of an Official Proceeding (ECF No. 51).

       Let us begin where the defense motion ends: with the argument that no court has ever

encountered the question whether an “official proceeding,” as that term is used in 18 U.S.C.

§ 1512(c), describes the Certification of the Electoral College vote. ECF 54, at 12. That

observation lacks legal significance. The statute’s text—which prohibits specified conduct

targeting “a proceeding before the Congress,” 18 U.S.C. § 1515(a)(1)(B)—plainly encompasses

the criminal acts committed by the defendant and others when they attempted to, and did, obstruct

the Congress’s certification of the Electoral College vote on January 6, 2021.

       The defendant’s motion should be denied because the indictment sufficiently advises the

defendant of the charges against him and because the congressional certification of the Electoral

College Vote—which is required by the Constitution and governed by precise statutory

requirements—is an official proceeding under Section 1512(c).




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                                    PROCEDRUAL HISTORY

          On January 11, 2021, the Grand Jury returned an indictment charging the defendant with,

inter alia, obstruction of the Electoral College vote that took place at the United States Capitol on

January 6, 2021. He was also charged with interfering with law enforcement during the course of

a civil disorder, and unlawful presence on Capitol grounds and inside the Capitol building.

          On June 29, 2021, the defendant filed this motion to dismiss Count Two of the indictment,

which charges him with obstruction of an official proceeding in violation of 18 U.S.C.

§ 1512(c)(2). For the reasons stated below, the defendant’s motion is without merit and should be

denied.

                                       LEGAL STANDARD

          A defendant may move to dismiss an indictment or count thereof for failure to state a claim

prior to trial. See Fed. R. Crim. P. 12(b)(3)(B)(v). The government agrees with the defendant

that “[a]n indictment must be viewed as a whole and the allegations must be accepted as true in

determining if an offense has been properly alleged.” United States v. Bowdin, 770 F. Supp. 2d

142, 146 (D.D.C. 2011). The operative question is whether the allegations, if proven, would be

sufficient to permit a jury to find that the crimes charged were committed. Id. An indictment must

contain every element of the offense charged, if any part or element is missing, the indictment is

defective and must be dismissed.” See United States v. Hillie, 227 F. Supp. 3d 57, 70 (D.D.C.

2017).

          Section 1512(c)(2) of Title 18 of the U.S. Code provides that “[w]hoever corruptly . . .

obstructs, influences, or impedes any official proceeding, or attempts to do so, shall be fined under

this title or imprisoned not more than 20 years, or both.” The relevant “Definitions” provision, 18

U.S.C. § 1515, states that “the term ‘official proceeding’ means— (A) a proceeding before a judge



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or court of the United States … or a Federal grand jury;” (B) a proceeding before the Congress;

(C) a proceeding before a Federal Government agency which is authorized by law; or (D) a

proceeding involving the business of insurance … before any insurance regulatory official or

agency….” 18 U.S.C. § 1515(a)(1) (emphasis added).

        Federal Rule of Criminal Procedure 7(c)(1) governs the “Nature and Contents” of an

indictment. The rule states, in relevant part, that “[t]he indictment … must be a plain, concise, and

definite written statement of the essential facts constituting the offense charged,” and that “[f]or

each count, the indictment or information must give the official or customary citation of the statute,

rule, regulation, or other provision of law that the defendant is alleged to have violated.”

                                           ARGUMENT

        The defendant’s motion makes two arguments: (1) the indictment does not sufficiently

apprise him of the crime with which he is charged; and (2) the certification of the Electoral College

vote on January 6, 2021 is not an “official proceeding” contemplated by 18 U.S.C. 1512(c). Both

arguments are without merit, and the motion should therefore be denied.


   I.      Count Two of the indictment amply notifies the defendant of the charge alleged
           against him.
        A facially valid indictment is intended to guarantee at least two core constitutional

protections. The first is notice, as provided by the Sixth Amendment: an “indictment's main

purpose is to inform the defendant of the nature of the accusation against him,” United States v.

Hillie, 227 F. Supp. 3d 57, 69 (D.D.C. 2017) (citing United States v. Hitt, 249 F.3d 1010, 1016

(D.C. Cir. 2001) (internal quotation marks and citation omitted). The second preserves the Fifth

Amendment's protections against abusive criminal charging practices; specifically, that a criminal

defendant can only be prosecuted for offenses that a grand jury has actually passed up on, and that



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a defendant who is convicted of a crime so charged cannot be prosecuted again for that same

offense. Id. at 70 (citing Stirone v. United States, 361 U.S. 212, 218, (1960) (explaining that the

Grand Jury Clause of the Fifth Amendment “limit[s] [a defendant's] jeopardy to offenses charged

by a group of his fellow citizens acting independently”); see also Puerto Rico v. Sanchez Valle,

136 S. Ct. 1863, 1867 (2016) (“The Double Jeopardy Clause of the Fifth Amendment prohibits

more than one prosecution for the ‘same offen[s]e.’”). The test for sufficiency is whether it is fair

to require the accused to defend himself on the basis of the charge as stated in the indictment.

United States v. Conlon, 628 F.2d 150, 155 (D.C. Cir. 1980). Sufficiency depends upon whether

the indictment “clearly informs the defendant of the precise offense of which he is accused so that

he may prepare his defense.” Id.

       Here, Count Two of the indictment sufficiently informs the defendant of the basis of the

charge against him. The indictment identifies the relevant date—on or about January 6, 2021. ECF

No. 3. The indictment lists the prohibited conduct the defendant engaged in, specifically engaging

in an act of civil disorder, threatening Congressional officials, unlawfully remaining in a restricted

building without lawful authority, and engaging in disorderly and disruptive conduct. Id. It alleges

the mens rea requirement from the statute. Id. And, most importantly for the present motion, it

identifies the official proceeding he obstructed—namely, a proceeding before Congress. Id. That

amply satisfies the dictates of Fed. R. Crim. 7(c).

       Further, the defendant has received discovery in this case related to his conduct on January

6, 2021, to include the grand jury materials in this case disclosed pursuant to this Court’s order.

The indictment, and those materials, fully apprise the defendant of the proceeding that he allegedly

obstructed—the Joint Session of Congress, which convened to certify the 2020 presidential

election. See, e.g., United States v. Williamson, 2014 WL 12695537, at *7 (D.D.C. Oct. 20, 2014)




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(“If the indictment is sufficiently specific or if the requested information is available in some other

form such as through discovery, then a bill of particulars is not required.”). Due to the fact that this

was a Joint Session of Congress, it was the only Congressional proceeding occurring on the date

alleged in the indictment, as a matter of public record. In light of this discovery, the defendant has

ample information to understand the nature of the charge against him, prepare his defense in this

case, and identify any applicable double-jeopardy defense in a future proceeding. No pleading

defect accordingly exists in Count Two.


    II.      The certification of the Electoral College vote is an official proceeding
          The defendant argues that Congress’s certification of the Electoral College vote on January

6, 2021 does not qualify as an “official proceeding” for purposes of 18 U.S.C. § 1512(c)(2). That

argument lacks merit.

          A. Background

          The Constitution and federal statutory law require that both Houses of Congress meet to

certify the results of the Electoral College vote. Two separate provisions in the Constitution

mandate that the Vice President while acting as the President of Senate “shall, in the Presence of

the Senate and House of Representatives, open all the Certificates, and the Votes shall then be

counted.” U.S. Const. art. II, § 1, cl. 3; U.S. Const amend. XII. Under the Electoral Act of 1887,

a Joint Session of the Senate and the House of Representatives must meet at “the hour of 1 o’clock

in the afternoon” on “the sixth day of January succeeding every meeting of the electors.” 3 U.S.C.

§ 15. Section 15 details the steps to be followed: the President of the Senate opens the votes, hands

them to two tellers from each House, ensures the votes are properly counted, and then opens the

floor for written objections, which must be signed “by at least one Senator and one Member of the

House of Representatives.” Id. The President of the Senate is empowered to “preserve order”



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during the Joint Session. 3 U.S.C. § 18. Upon a properly made objection, the Senate and House

of Representatives withdraw to consider the objection; each Senator and Representative “may

speak to such objection . . . five minutes, and not more than once.” 3 U.S.C. § 17. The Electoral

Act, which specifies where within the chamber Members of Congress are to sit, requires that the

Joint Session “not be dissolved until the count of electoral votes shall be completed and the result

declared.” 3 U.S.C. § 16.

       The obstruction statute with which the defendant is charged prohibits corruptly obstructing,

influencing, or impeding any official proceeding. 18 U.S.C. § 1512(c)(2). An official proceeding

for purposes of § 1512(c)(2) is defined as:

         (A) a proceeding before a judge or court of the United States, a United States
         magistrate judge, a bankruptcy judge, a judge of the United States Tax Court, a
         special trial judge of the Tax Court, a judge of the United States Court of
         Federal Claims, or a Federal grand jury;
         (B) a proceeding before the Congress;
         (C) a proceeding before a Federal Government agency which is authorized by
         law; or
         (D) a proceeding involving the business of insurance whose activities affect
         interstate commerce before any insurance regulatory official or agency or any
         agent or examiner appointed by such official or agency to examine the affairs of
         any person engaged in the business of insurance whose activities affect interstate
         commerce[.]

18 U.S.C. § 1515(a)(1) (emphasis added).

       B. Certification of the Electoral College vote is a proceeding before the Congress

       The certification of the Electoral College vote as set out in the Constitution and federal

statute is a “proceeding before the Congress,” 18 U.S.C. § 1515(a)(1)(B), and, therefore, an

“official proceeding” for purposes of 18 U.S.C. § 1512(c)(2). That conclusion flows principally

from the obstruction statute’s plain text. Skipping past the text, the defendant argues that the term

“official proceeding” means a formal hearing before “a tribunal,” some sort of investigative



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proceeding, or involving the administration of justice. Def. Mot, at 2, 6-7. That argument is

incorrect, but even if it were not, it would not disqualify the Electoral College vote certification.

The defendant’s final argument—that that Count Two overcharges the defendant for his conduct—

is similarly flawed.

       1. “Official Proceeding,” By the Plain Language of the Statute, Encompasses The Joint
          Congressional Session Certifying the Electoral College Vote.

       Understanding what qualifies as an official proceeding “depends heavily on the meaning

of the word ‘proceeding’” because “official proceeding” is defined “somewhat circularly” as,

among other things, a congressional “proceeding.” See United States v. Ermoian, 752 F.3d 1165,

1169 (9th Cir. 2013). The certification of the Electoral College vote constitutes a “proceeding”

under any interpretation of that term.

       In its broadest and most “general sense,” a proceeding refers to “[t]he carrying on of an

action or series of actions; action, course of action; conduct, behavior.” Id. (quoting

Proceeding, Oxford English Dictionary, available at http://www.oed.com). The defendant does

not meaningfully contest the contention that the certification of the Electoral College vote, which

involves a detailed “series of actions” outlining how the vote is opened, counted, potentially

objected to, and ultimately certified, is a “proceeding”—and indeed an “official proceeding”—

under that general definition. And there is good reason to construe “proceeding” as used in 18

U.S.C. § 1515 in this fashion.       Section 1515’s text encompasses not only congressional

proceedings, but judicial proceedings, grand jury proceedings, any legally authorized proceedings

before federal government agencies, and proceedings “involving the business of insurance.” 18

U.S.C. § 1515(a)(1); see S. Rep. No. 97-532, at 17 (1982) (noting that the “term ‘official

proceeding’” in the obstruction statute is “defined broadly”).




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       But even if the “legal—rather than the lay—understanding” of proceeding governs Section

1515’s interpretation, see Ermoian, 752 F.3d at 1170, the Electoral College vote certification

qualifies. This narrower definition includes the “business conducted by a court or other official

body; a hearing.” Black’s Law Dictionary, “proceeding” (11th ed. 2019). Taken with its modifier

“official,” the term proceeding thus “connotes some type of formal hearing.” Ermoian, 752 F.3d

at 1170; see United States v. Ramos, 537 F.3d 439, 462 (5th Cir. 2008) (the “more formal sense”

of “official proceeding” is “correct in the context of § 1512”). For example, in cases assessing

whether a law enforcement investigation amounts to an “official proceeding” as defined in Section

1515—including the cases relied upon by the defendant—courts analyze the degree of formality

involved in an investigation. See, e.g., United States v. Sutherland, 921 F.3d 421, 426 (4th Cir.

2019) (FBI investigation not an “official proceeding” because that term “implies something more

formal than a mere investigation”), cert. denied, 140 S. Ct. 1106 (2020); Ermoian, 752 F.3d at

1170-72 (same); United States v. Perez, 575 F.3d 164, 169 (2d Cir. 2009) (internal investigation

conducted by a review panel within the Bureau of Prisons was an “official proceeding” because

the review panel’s “work [was] sufficiently formal”); Ramos, 537 F.3d at 463 (internal

investigation conducted by Customs and Border Patrol not an “official proceeding” because that

term “contemplates a formal environment”); United States v. Dunn, 434 F. Supp. 2d 1203, 1207

(M.D. Ala. 2006) (investigation conducted by Bureau of Alcohol, Tobacco, and Firearms not an

“official proceeding” because that term encompasses “events that are best thought of as hearings

(or something akin to hearings)”); see also United States v. Kelley, 36 F.3d 1118, 1127 (D.C. Cir.

1994) (holding that a “formal investigation” conducted by the Officer of the Inspector General at

the Agency for International Development qualified as a “proceeding” for purposes of 18 U.S.C.

§ 1505) (emphasis added).




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       The formality involved in the certification of the Electoral College vote places it

“comfortably within the category” of an official proceeding. See Perez, 575 F.3d at 169. Few

events are as solemn and formal as a Joint Session of the Congress. That is particularly true for

the certification of the Electoral College vote, which is expressly mandated under the Constitution

and federal statute. Required by law to begin at 1:00 p.m. on January 6 following a presidential

election, the certification of the Electoral College vote is both a “hearing” and “business conducted

by . . . [an] official body.” See Black’s Law Dictionary, supra. The Vice President, as the President

of the Senate, serves as the “presiding officer” over a proceeding that counts votes cast by Electors

throughout the country in presidential election. 3 U.S.C. § 15. As in a courtroom, Members may

object, which in turn causes the Senate and House of Representatives to “withdraw” to their

respective chambers so each House can render “its decision” on the objection. Id. And just as the

judge and parties occupy specific locations in a courtroom, so too do the Members within the

“Hall.” See 3 U.S.C. § 16 (President of the Senate is in the Speaker’s chair; the Speaker

“immediately upon his left”; the Senators “in the body of the Hall” to the right of the “presiding

officer”; the Representatives “in the body of the Hall not provided for the Senators”; various other

individuals “at the Clerk’s desk,” “in front of the Clerk’s desk,” or “upon each side of the Speaker’s

platform”). The Electoral College vote certification, moreover, must terminate with a decision: no

recess is permitted until the “the count of electoral votes” is “completed,” and the “result declared.”

Id. In short, the certification of the Electoral College vote is a “proceeding before the Congress.”

See 18 U.S.C. § 1515(a)(1)(B).

       2. Defendant’s Reading of the Statute Lacks Textual Support and Contravenes Legislative
          Intent.
       Ignoring the plain text, the defendant argues that the adjective “official” and the preposition

“before” limit the definitions in Section 1515 to proceedings in front of an agency “sitting as a



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tribunal.” Def. Mot, at 6-7. As an initial matter, it is difficult to imagine a proceeding more

“official” than a constitutionally and statutorily prescribed Joint Session of Congress. Whatever

the merits of the defendant’s argument for other provisions in Section 1515(a)(1), it finds no textual

support when applied to Section 1515(a)(1)(B), which speaks broadly of a proceeding “before the

Congress.” Had Congress wanted to import a definition that more closely resembled a quasi-

adjudicative setting, it needed to look only a few provisions away to 18 U.S.C. § 1505, which

criminalizes obstruction of “the due and proper administration of the law under which any pending

proceeding is being had” by a federal department or agency. Section 1505 shows that Congress

knew how to limit an obstruction prohibition to such settings, and that it could have also done so

in the text of Section 1515(a)(1)(B). But it did not. Instead, Congress enacted language—“a

proceeding before the Congress”—to cover a broader range of proceedings than the “inquir[ies]

and investigation[s]” envisioned in Section 1505. That distinctively broader definition includes

the Electoral College vote certification. See, e.g., Russello v. United States, 464 U.S. 16, 23 (1983)

(“We refrain from concluding here that the differing language in the two subsections has the same

meaning in each. We would not presume to ascribe this difference to a simple mistake in

draftsmanship.”).

       The defendant relatedly argues that the phrase “official proceeding” requires “some formal

convocation of the agency in which parties are directed to appear.” Def. Mot, at 7 (citation

omitted).   But the certification of the Electoral College vote plainly involves a “formal

convocation” of Congress to assess the Electoral College vote and “declare[]” the “result” of the

presidential election, 3 U.S.C. § 16.

       Finally, the defendant argues that 18 U.S.C. 1512(c) solely prohibits conduct that affects

the administration of justice, and therefore “proceedings” should encompass only “investigations




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and legal proceedings related to a criminal investigation.” Def. Mot, at 7. But Congress enacted a

separate provision to punish the obstruction of “communication of information relating to a

violation of any criminal statute of the United States.” 18 U.S.C. § 1510(a). Defendant’s restrictive

definition would accordingly, and impermissibly, render Section 1512 superfluous. See Hibbs v.

Winn, 542 U.S. 88, 101 (2004) (“A statute should be construed so that effect is given to all

its provisions, so that no part will be inoperative or superfluous, void or insignificant.”).

        Switching gears, the defendant invokes “legislative intent” behind the Sarbanes-Oxley Act

of 2002 to argue that the certification of the Electoral College vote is not an “official proceeding”

because it was not a federal investigation. Def. Mot., at 9-10. That approach fails in three respects.

First, it is methodologically flawed. To determine the meaning of a statute, the Court “look[s] first

to its language, giving the words used their ordinary meaning.” Levin v. United States, 568 U.S.

503, 513 (2013) (quoting Moskal v. United States, 498 U.S. 103, 108 (1990)). In ordinary parlance,

a gathering of the full Congress to certify the Electoral College vote is a congressional proceeding,

a proceeding before the Congress. Because Section 1515(a)(1)(B)’s words “are unambiguous, the

judicial inquiry is complete.” See Babb v. Wilkie, 140 S. Ct. 1168, 1177 (2020) (internal quotation

marks omitted). The defendant offers no rationale for breezing past the statute’s plain text to reach

for other interpretive tools.

        The other statutory tools on which the defendant purports to rely do not aid his argument.

For example, the defendant suggests that Congress intended the obstruction statute to “provide for

criminal prosecution and enhanced penalties of persons who defraud investors in publicly traded

securities or alter or destroy evidence in certain Federal investigations.” Def. Mot., at 10. Putting

aside that the “best evidence of [a statute’s purpose] is the statutory text adopted by both Houses

of Congress and submitted to the President,” West Va. Univ. Hosps., Inc. v. Casey, 499 U.S. 83,




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98 (1991), the obstruction statute’s legislative history confirms that Congress intended the statute

to reach “broadly,” and to encompass “the rare type of conduct that is the product of the inventive

criminal mind.” S. Rep. No. 97-532, at 17-18.

       The defendant’s effort to invoke other provisions in Chapter 73 has even less bearing on

the plain meaning of § 1512(c)(2). Def. Mot. at 9 (citing 18 U.S.C. §§ 1503, 1504, 1507, 1521).

If anything, those neighboring provisions—which criminalize obstruction of other types of

investigations and protect judges, jurors, witnesses, and the like—underscore that Congress

robustly sought to penalize obstructive conduct across a vast range of settings. That Congress

wished to penalize efforts to obstruct everything from a federal audit and a bankruptcy case to an

examination by an insurance regulatory official only crystallizes the government’s construction

here: the acts of obstructing, influencing, or impeding—rather than the particular type of hearing—

lie at “‘the very core of criminality’ under the statute[s].” Williamson, 903 F.3d at 131.

        The defendant also contends that Section 1512’s title—“Tampering with a witness, victim,

or an informant”—implies that the “official proceeding” definition in Section 1515 must relate to

the administration of justice, and does not cover the Electoral College vote certification. Def. Mot.,

at 7. Even putting aside the defendant’s selective invocation of the statutory title—he urges this

Court to adopt the reasoning in cases like Ermoian holding that an “official proceeding” does not

include a law enforcement investigation even though the title’s reference to “an informant” would

clearly suggest otherwise—his contention runs headlong into “the wise rule” that neither “the title

of a statute” nor “the heading of a section” can “limit the plain meaning of the text.” Brotherhood

of R.R. Trainmen v. Baltimore & Ohio R. Co., 331 U.S. 519, 528-29 (1947). Indeed, the specific

statutory provision under which the defendant is charged, 18 U.S.C. § 1512(c)(2), explicitly

reaches beyond tampering: it “operates as a catch-all to cover otherwise obstructive behavior that




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might not constitute a more specific” obstruction offense. United States v. Petruk, 781 F.3d 438,

447 (8th Cir. 2015) (quoting United States v. Volpendesto, 746 F.3d 273, 286 (7th Cir. 2104)).

       Finally, the defendant’s narrowed reading of “proceeding before the Congress” in 18

U.S.C. § 1515(a)(1)(B)—in essence, importing an extra-textual “administration of justice”

requirement—would undercut the broad statute that Congress enacted. In the defendant’s view,

for example, an individual who threatened a Senator and a Representative with injury unless each

agreed to object to the Electoral College certification—even though each Member knew that the

objections were frivolous—would not amount to obstruction. Nor would it appear to cover an

individual who paid one of the tellers—who are appointed by the Senate and House of

Representatives to handle the Electoral College votes—to falsify or destroy votes. Indeed, other

than some oblique references to congressional committees investigating violations of the law, 1 the

defendant does not explain which congressional proceedings would qualify for protection under

his narrowed definition, in which “a violation of the law where witnesses are subpoenaed to appear

and give testimony or to provide relevant evidence.” Def. Mot., at 12. That crabbed approach fails

to recognize that the certification of the Electoral College vote is an official proceeding that is

“crucial to the conduct of government” and therefore “entitled to go forward free of corrupting

influences that not only delay [it] but increase the chances of false and unjust outcomes.”

Sutherland, 921 F.3d at 426. Under any permissible construction of the phrase “proceeding before

the Congress,” the Electoral College vote certification falls squarely within it.

       3. In Any Event, The Certification of the Electoral College Vote Qualifies as an
          Adjudicative Proceeding.


1
  The defendant does not grapple with the anomalous result that follows from his argument: an
investigation by a committee—not even a full House, let alone both Houses—would qualify as a
“proceeding before the Congress,” but a constitutionally required Joint Session to resolve disputes
over and ultimately certify the result of a presidential election would not.


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       The defendant’s challenge fails even if he were correct—and he is not—that for a

proceeding to constitute an “official proceeding” under the obstruction statute, that proceeding

must be investigative or “before a tribunal.” Far from a routine, ministerial function, the

certification of the Electoral College vote comprises features that resemble an adjudicative

proceeding. It involves the convening of a Joint Session of Congress, a deliberative body over

which a government officer, the Vice President as President of the Senate, “presid[es].” 3 U.S.C.

§ 15. That body convenes to render judgment on whether to certify the votes cast by Electors in

the presidential election. As in an adjudicative setting, parties may lodge objections to the

certification, and if any such objection is lodged, each House must consider the objection and make

a “decision” whether to overrule or sustain it. Id. And just as a jury does not (barring a mistrial)

recess until it has a reached a verdict, the Joint Session cannot “be dissolved” until it has “declared”

a “result.” 3 U.S.C. § 16.

       The defendant implies that courts have agreed with his narrowed approach that the

proceeding must be investigative or be quasi-judicial in nature. Def. Mot., at 6-7. As noted above,

however, those cases addressed an entirely different question, namely, whether law enforcement

investigations qualified as “official proceedings” under a subsection defining that term as a

“proceeding before a Federal Government agency which is authorized by law.” 18 U.S.C. §

1515(a)(1)(C). Those courts grappled with questions, such as when an agency investigation is a

proceeding; whether the requirement in § 1512(f)(1) that a proceeding “need not be pending or

about to be instituted at the time of the offense” as applied to agency investigations would reach

“conduct that occurred even pre-criminal-investigation,” Ermoian, at 752 F.3d at 1172; and

whether the “official” modifier “implies something more formal than a mere investigation,”

Sutherland, 921 F.3d at 426, that do not arise here. The certification of the Electoral College vote




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is a congressional proceeding, not an investigation, and involves a degree of formality distinct

from any agency investigations. And, in any event, the statutory definition—a “proceeding before

the Congress”—is phrased more broadly than the definition at issue in those decisions.

       Defendant observes that no judicial decision has applied Section 1512(c) to the obstruction

of a congressional function. Def. Mot., at 12. As documented above, however, the statute’s plain

text—which prohibits specified conduct targeting “a proceeding before the Congress,” 18 U.S.C.

§ 1515(a)(1)(B)—provided him with more than “a fair warning . . . of what the law intends to do

if a certain line is passed.” Arthur Andersen LLP v. United States, 544 U.S. 696, 703 (2005)

(citation omitted).

       4. Defendant’s “Overcharging” Allegation Lacks Merit.

       Finally, the defendant accuses the government of “over charging a person for conduct that

is more specifically proscribed elsewhere” and contends that he only should have been charged

under “other statutes.” Def. Mot., at 12. The premise that claim is flawed. The mere fact that

multiple criminal statutes apply to an individual’s conduct does not render prosecution under one

(or more) of those statute suspect; indeed, “overlap” is “not uncommon in [federal] criminal

statutes.” Loughrin v. United States, 573 U.S. 351, 358 n.4 (2014); accord Hubbard v. United

States, 514 U.S. 695, 714 n.14 (1995) (opinion of Stevens, J.) (“Congress may, and often does,

enact separate criminal statutes that may, in practice, cover some of the same conduct.”); see also

United States v. Batchelder, 442 U.S. 114, 123 (1979) (“So long as overlapping criminal provisions

clearly define the conduct prohibited and the punishment authorized, the notice requirements of

the Due Process Clause are satisfied.”).

       In any event, whether or not the defendant faces potential criminal penalty under another

criminal statute has no bearing on whether the government properly charged 18 U.S.C. §




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1512(c)(2) in this case. “[W]hen an act violates more than one criminal statute, the Government

may prosecute under either.” Batchelder, 442 U.S. at 123-124.

                                        CONCLUSION

       For the foregoing reasons, and any additional reasons that may be cited at a hearing on this

motion, the government respectfully requests the defendant’s motion be denied.

                                     Respectfully submitted,

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